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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Northern Division)

)
DAVID J. BOSHEA )
)
Plaintiff, )
)
v. ) Case No.: 1:21-CV-00309-ELH

)
COMPASS MARKETING, INC. )
Defendant. )
)

ORDER

This matter having come before the Court on Plaintiff's Motion to Amend April 10, 2024
Order, the premise having been considered and there being no objection said motion shall be and
hereby is GRANTED. The Court’s April 10, 2024 Order is amended to provide that the date on
which David J. Boshea’s fee petition is due is extended to the date that is seven days following the
disposition of the two posttrial motions filed by Defendant Compass Marketing, Inc. (CM/ECF

255 and 256).

This lhe, of April 2024.

Ellen L. Hollander
United States District Judge

